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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                     Plaintiff,
                                                   Case No. 22-CR-00115-CVE
v.

IZABELLA MARIE BOLING,
a/k/a “Turbo,”

                     Defendant.

                Joint Motion for Continuance of Detention Hearing

     David A. Nasar, Assistant United States Attorney; and Izabella Marie Boling,

by and through her counsel, Scott Troy, move the Court to continue the detention

hearing set for May 19, 2022. In support of this motion, the parties offer as follows:

     1. On April 19, 2022, an Indictment was filed in this matter.

     2. The defendant was arraigned on May 13, 2022 and the detention hearing was

scheduled for May 19, 2022.

     3. The parties request a continuance for the detention hearing to May 23, 2022.

     4. The government has a conflict on May 19, 2022. In addition, this continuance

is requested to give the defense additional time to investigate certain matters and to

prepare for the detention hearing.

     5. Accordingly, the parties request a continuance of the detention hearing for the

reasons stated and not for the purpose of delay, or any improper purpose.
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   WHEREFORE, the parties respectfully request that the Court grant a

continuance of the currently scheduled detention hearing to May 23, 2022.



                                        Respectfully submitted,

                                        CLINTON J. JOHNSON
                                        UNITED STATES ATTORNEY


                                        /s/ David A. Nasar
                                        David A. Nasar, NY Reg. # 4222568
                                        Assistant United States Attorney
                                        110 West Seventh Street, Suite 300
                                        Tulsa, OK 74119


                                        /s/ Scott Troy
                                        Scott Troy, OBA# 11714
                                        (Signed by Filing Attorney with permission of
                                        Non-Filing Attorney)
                                        406 South Boulder Ave W #405,
                                        Tulsa, OK 74103



                           CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of May, 2022, I electronically transmitted
the attached document to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following ECF recipients:

Scott Troy
Defense Counsel


                                        /s/ David A. Nasar
                                        Assistant United States Attorney




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